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EXHIBIT X
EXPERT REPORT OF
ROBERT GARNER
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ANN MILLER RAVEL
County Counsel
County of Sante Clara
San Jose, California

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COUNTY OF SANTA CLARA

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA
AND THE NORTHERN DISTRICT OF CALIFORNIA
UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE

RALPH COLEMAN, et al., No. CIV S-90-0520 LKK JFM P

Plaintiffs, THREE-JUDGE COURT

V.
ARNOLD SCHWARZENEGGER, et al.,

Defendants.

MARCIANO PLATA, et al.,
THREE-JUDGE COURT

Plaintiffs,
INTERVENOR COUNTY OF SANTA

CLARA’S EXPERT REPORT OF ROBERT
GARNER

Vv.

ARNOLD SCHWARZENEGGER, et al.,
Date: November 18, 2008

Time: 1:30 p.m.

Location: U.S.D.C. Ceremonial Courtroom

Defendants.

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) No. C01-1351 TEH
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Intervenor County of Santa Clara’s
Expert Report of R. Gamer CIV S-90-0520 LKK JFM P/ C01-1351 TEH

Case 2:90-cv-00520-KJM-SCR Document 3147-3

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EXPERT REPORT OF ROBERT GARNER
August 14, 2008

STATEMENT OF QUALIFICATION:

lam currently employed as the Director of the Santa Clara County Department of
Alcohol and Drug Services. | also hold the official designation of Santa Clara County
Alcohol and Drug Program Administrator, a position that exists in every California
County.

| have been in the drug abuse field continuously since 1971, when | was named the

lead, and | have been the Department Director since that time. | am the longest
serving county drug and alcohol program official in the state of California. |ama
founding member, past President, and current Executive Committee member of the
California Alcohol and Drug Program Administration Association of California.

accountability systems, monitoring and outcome measures, staff development,
training and education services,

| have consulted with several Grand Juries in Santa Clara County regarding drug and
alcohol issues.

|
Analyst's Office and several Legislative Officers on the development of specific drug
and alcohol legislative Proposals. | have consulted on Numerous occasions with the
County Supervisor's Association of California on drug and alcohol issues.

My professional resume is attached.

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(FAX) P.003/007
Aug 15 08 07: 49% A DSR

Case 2:90-cv-00520-KJM-SCR ‘Document 3147-3 *PAEA2ESABD/O8 Page 4,0 39

| have not been retained or specifically employed to provide testimony in this case,
nor do my duties regularly involve giving expert testimony, .

! have not testified as an expert at trial or deposition during the previous four years.

| reserve the right to supplement these Opinions if more information is provided.

Lorne a hse _ Gs

obert Garner, Director Date
Department of Alcoho! and Drug Services

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Case 2:90-cv-00520-KJM-SCR Document 3147-3 Filed 10/30/08 Page 5 of 39

PREPARATION:
Preparing for this statement | read the following documents:

1. California Prisoners and Parolees 2006
This is a summary of statistics on adult felon prisoners and parolees, civil
narcotic addicts and outpatients and other populations, prepared by the
California Department of Corrections and Rehabilitation, Offender Information
Services, Estimates and Statistical Analysis Section, Data Analysis Unit.

2. Supplemental Responses to Defendant’s First Set of Interrogatories to
Plaintiff, Ralph Coleman.

3. Episode data for adult treatment services 2006, prepared by Alcohol and Drug
Services Research Institute, Santa Clara County Department of Alcohol and
Drug Services.

4. Waiting List Data for Adult Treatment services, prepared week of August 11"
by Jolene Wing, Quality Improvement Division, Department of Alcohol and
Drug Services.

5. Cost of adult treatment, fiscal year 2006, report prepared by Amelia Whitlow,
Administrative Services Manager, Department of Alcohol and Drug Services.

Also in preparing this report | consulted with:

1. Katherine Christian, Director of Research Institute, Department of Alcoho! and
Drug Services,

2. Amelia Whitlow, Administrative Services Manager, Department of Alcohol and
Drug Services.

3. Jolene Wing, Senior Program Manager of Quality Improvement Division,
Department of Alcohol and Drug Services.

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Case 2:90-cv-00520-KJM-SCR Document 3147-3 Filed 10/30/08 Page 6 of 39

OPINION #1:
The release of State Prisoners into Santa Clara County will have a severe
negative impact on the Santa Clara County drug treatment system.

Background

Santa Clara County residents comprise 3.6% of the State’s prisoners, and therefore a
release of 40,000 prisoners would result in 1,440 of these prisoners returning to the

drug problems. {It is this group of 1,000 released prisoners that would impact the
County's drug treatment system.

The County has a large adult treatment system, supported by more than $37 million
in public funding from all sources in fiscal year 2006. This includes administrative
and other support costs directly related to providing treatment.

In that same fiscal year (2006) the adult treatment system served 7,528 clients
(unduplicated) and provided 8,566 treatment episodes. A treatment episode is
defined as the time from a client's first treatment admission to their final discharge

The treatment system includes a variety of levels of care, or treatment modalities,
including various types of outpatient treatment, residential treatment, detoxification,
and methadone maintenance. Short term transitional housing for homeless clients is
provided, but only in conjunction with outpatient treatment. All of the adult treatment
system operates at capacity, and demand exceeds supply. In the outpatient
services, there is a 33-day waiting list to access treatment (average across all
outpatient providers). There is an average 9-day wait for residential treatment, an
average of 28 day wait list for methadone treatment. The average wait for
transitional housing is 7-days for men and 14-days for women.

Discussion:

The release of 1,440 State prisoners, including 1,000 with serious drug problems,
would have a severe, negative impact on the County's current treatment system,
Drug addiction is a chronic, relapsing brain disease and without treatment relapse is
highly expected. While there is limited drug treatment available in some prisons, a
recent study found it to be an expensive failure. It is highly likely that most of those
1,000 drug abusing prisoners would initiate drug use in the first year following
release.

Given that the treatment system is full with waiting lists for most treatment exceeding
one month, few of these individuals would enter treatment in a timely manner.
Research has linked positive treatment outcomes to quick access and engagement in
treatment. Without such quick access, drug addicts will continue and often escalate

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Case 2:90-cv-00520-KJM-SCR Document 3147-3 Filed 10/30/08 Page 7 of 39
their drug use. This increases their exposure to arrest and incarceration, and it

usually means that the level of treatment needed has increased. The current system
cannot support this increased demand, and in fact, it cannot adequately address the
current level of need.

Untreated drug addiction also increases the likelihood that the clients will develop
several medical problems requiring medical care and increase their exposure to such
things as HIV infection and Hepatitis C. These serious medical conditions are
extremely costly and will themselves become additional costs in the County's medical
care system.

The inability of the County's treatment system to accommodate these new clients will
be exacerbated by severe budget reductions at the County level, now several years
worth and expected to continue for several more years, which has already resulted in
reductions of millions of dollars in treatment services.

This large release of prisoners would cause considerable harm to the County's drug
treatment system, and all of the systems clients would suffer. Without timely and
appropriate treatment, most addicts will be arrested and end up back in jail or prison
where they will not receive treatment that is adequate and appropriate. Community
based treatment is essential to reduce recidivism.

A special problem will be caused by these prisoners who are rearrested for drug use
and qualify for SACPA (Substance Abuse and Crime Prevention Act—Proposition 36)
services. The County is required by law to provide treatment for these clients, but the
State allocation covers less than half the cost of that treatment. If this prisoner
release results in an increase in SACPA clients, and given the fact the allocation has
been decreased over time, the County's ability to provide the legally mandated
treatment will be jeopardized. If SACPA clients are given a priority for treatment, it
will be at the expense of some other client population.

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OPINION #2:
The County would need significant funding to provide alcohol and drug
services to State prisoners released into Santa Clara County.

As indicated earlier, in FY06 there were 8,566 treatment episodes costing
$37 422,085 or $4,369 per episode. The cost of priority treatment for an additional
1,000 clients released from prison would be $4,369,000, based on actual cost of
treatment episodes in FYO6. These resources are not available locally and without
adequate resources the current treatment system would be devastated.

A mechanism for funding treatment for this population already exists. This County is
part of what is known as the Bay Area Services Network, a treatment system for state
parolees in which the state funds treatment in each county for parolees who are
addicted. If adequate state funding is provided, this mechanism can easily be used
to administer the funds and provide the services. Local treatment systems exist in
every county andwith adequate state funding they can be expanded to
accommodate the proposed increase in clients resulting from early release of
prisoners. Counties have existing structures for accountability and reporting that
could be expanded with appropriate funding.

There is a larger problem that needs to be identified and addressed, and that is any
effective solution to the related problems of drug addiction and crime require a
partnership between Counties and State. A proposal to release 40,000 prisoners will
not foster this partnership and will only have negative effects of devastating County
drug treatment systems.

In the longer run, the prisoner will be the one to lose. Those granted early release
will be thrown into local communities unprepared and unable to accommodate them.
Without housing support most will be forced to live in substandard housing, often
drug infested. Most will initiate their compulsive drug use again, and without
treatment the acuity of their addiction will worsen and their exposure to re-arrest and
incarceration will increase. A prison release order will not remedy these problems.

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ROBERT GARNER

Resume

EMPLOYMENT:

Since 1971, developed and administered Santa-Clara County’s drug and alcohol
services and currently serves as Director, Department of Alcohol and Drug
Services. Responsible for directing a $50 million department employing 166 staff
that provides a combination of direct and contract substance abuse prevention,
intervention, treatment and recovery services. Develops and leads the County’s
response to the substance abuse problem and develops systems to integrate
substance abuse services with a variety of related criminal justice, health and
other human services in the County. Consults with State and Federal agencies,
the State Legislature, Board of Supervisors and other government agencies.

From 1981 to 1983 served concurrently as Acting Public Administrator/Guardian
for Santa Clara County.

In 1987 served as Acting Director, Office of Justice Planning, Office of the
County Executive. Developed a new office to provide coordinated, countywide
planning for the various criminal justice agencies and administration of a criminal
justice grant program. os

From 1967 to 1970 served as Legislative Assistant and Press Secretary to
Representative John M. Murphy (D-NY) in his Washington, D.C. and New York
offices. Developed legislative positions, handled media and press relations, and
wrote speeches and other public relations material.

PROFESSIONAL:

Founding member and past Chairman, County Alcohol and Drug Program
Administrators Association of California. Currently, member of Executive
Committee and Chairman, Youth Committee.

Consulted with various State and local agencies including California Youth

Authority, California Department of Alcohol and Drug Programs, Federal Office of
Treatment Improvement.

EDUCATION:
Stanford University, Political Science 1965

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UNITED STATES DISTRICT COURT

- 2 FOR THE EASTERN DISTRICT OF CALIFORNIA
3 | AND THE NORTHERN DISTRICT OF CALIFORNIA
4 UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
5 |. PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
6 . PROOF OF SERVICE BY MAIL
7
8 Plata, et al. v. Schwarzenegger, et al. Nos. C01-1351 THE (Northern District)
9 CIV S-90-0520 LKK JFM P (Eastern District)
10 I, Linda Ramos, say:

11 ! am now and at all times herein mentioned have been over the age of eighteen years,
employed in Santa Clara County, California, and not a party to the within action or cause; that
12 my business address is 70 West Hedding, East Wing, 9" Floor, San Jose, California 95110-
1770. Tam readily familiar with the County’s business practice for collection and processing
13 of correspondence for mailing with the United States Postal Service. | served a copy of
EXPERT REPORT OF ROBERT GARNER by placing said copy in an envelope addressed
14 to:

15 SEE ATTACHED SERVICE LIST

16 which envelope was then sealed, with postage fully prepaid thereon, on August 15, 2008,
and placed for collection and mailing at my place of business following ordinary business

17 practices. Said correspondence will be deposited with the United States Postal Service at San
Jose, California, on the above-referenced date in the ordinary course of business; there is

18 delivery Service by United States mail at the place so addressed.

19 I declare under penalty of perjury under the laws of the State of California that the
foregoing is true and correct, and that this declaration was executed on August 15, 2008, at San

20 Jose, California.

21 : .
Linda Ramés

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County of Sau Clare

San lose, California Proof of Service by Mat! and E-Mail ]

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Proof of Service by Mail and E-Mail

Filed 10/30/08 Page 11 of 39
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Exhibit A

California Department of Correction and Rehabilitation
California Prisoners and Parolees 2006

County of Santa Clara Trial Exhibit #Q
Case 2:90-cv-00520-KJM-SCR Document 3147-3 Filed 10/30/08 Page 14 of 39

EXHIBIT B
TO EXPERT REPORT OF
ROBERT GARNER
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“ape 2:90-cv-00520-KJM-SCR Document 3147-3 Filed 10/30/08 Page 15 of B9

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IN THE UNITED STATES DISTRICT COURTS
FOR THE EASTERN DISTRICT OF CALIFORNIA
AND THE NORTHERN DISTRICT OF CALIFORNIA
UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE

RALPH COLEMAN, et al.,
Plaintiffs,
Vo.
ARNOLD SCHWARZENEGGER, et al.,

Defendants

No,: Civ $ 90-0520 LKK-JFM P
THREE-JUDGE COURT

COLEMAN PLAINTIFFS’
SUPPLEMENTAL RESPONSES TO
DEFENDANT ARNOLD
SCHWARZENEGER’S FIRST SET OF
INTERROGATORIES

MARCIANO PLATA ,et al.,

Plaintiffs,

VS.
ARNOLD SCHWARZENEGGER, et al.,

Vs.
Defendants

No. CO1-1351 TEH

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) THREE-JUDGE COURT
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“Coleman Plaintiffs” Supplemental Responses To Defendant Amold Schwarzenegger's First Set Of Interrogatories

NOS.: CIV S 90-0520 LKK-JFM, C01-1351 TEH

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PROPOUNDING PARTY: DEFENDANTS SCHWARZENEGGER, et al.
RESPONDING PARTY: PLAINTIFFS RALPH COLEMAN, ET AL.
SET: ONE

Pursuant to Federal Rule of Civil Procedure 33 and the general rules governing discovery,
Plaintiff Ralph Coleman, on behalf of the Coleman class, hereby submits supplemental responses to
Detendants” First Set of Interrogatories to Plaintiff Ralph Coleman.

PRELIMINARY STATEMENT AND GENERAL OBJECTIONS

l. The parties met and conferred about this first set of interrogatories and these
supplemental responses. Defendants requested supplemental responses to Interrogatories 3-14 and
claritied that this set of Interrogatories ts directed to Ralph Coleman as a class representative and not
as an individual. Accordingly, the supplemental responses are submitted on behalf of the class as a
whale,

2, Plaintiffs have not completed their investigation of the facts relating to this case, have
not completed their discovery in this action and have not completed their preparation for trial.
rheretore, these responses, while based on diligent factual exploration, reflect only Plaintiffs’ current
state of knowledge, understanding, and belief with regard to the matters about which inquiry has been
made. Plaintiffs reserve the nght to supplement these responses with subsequently obtained or
discovered information. With regard to each [nterrogatory, Plaintiffs reserve the right, notwithstanding
these answers and responses, to employ at trial or in any pretrial proceeding herein information
subsequently obtained or discovered, information the materiality of which is not presently ascertained,
or information Plaintiffs do not regard as coming within the scope of the Interrogatories as Plaintiffs
understand them.

3 These responses are made solely for the purpose of this action. Each answer is subject
to all objections as to competence, relevance, materiality, propriety, admissibility, privacy, privilege,
and any and al] other objections that would require exclusion of any statement contained herein if any

such Inlerrogatones were asked of, or any statement contained herein were made by, a witness present

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Caleman Plaintiffs’ Supplemental Responses To Defendant Arnold Schwarzenegger’s First Set Of Interrogatories
NOS.” CIV S 90-0520 LKK-JFM, CO1-1351 TEH

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and testifying in court, all of which objections and grounds are reserved and may be interposed at the
time of trial.

4, Except for explicit facts admitted herein, no incidental or implied admissions are
intended hereby. Plaintiffs’ answers or objections to any {nterrogatory are not an admission of any fact
set torth or assumed by that [nterrogatory. In addition, each of Plaintiffs’ answers to an Interrogatory
or part of any Interrogatory is not a waiver of part or all of any objection they might make to that form
of Interrogatory, or an admission that such answer or objection constitutes admissible evidence.
Plaintiffs assert these objections without waiving or intending to waive any objections as to
competency, relevancy, materiality or privilege.

5. Plaintiffs object to each and every Interrogatory to the extent that Defendants are
requesting information that is privileged pursuant to the attorney-client privilege, the work product
doctrine, the right to privacy, or any other applicable privilege or doctrine. Plaintiffs object to the
Metinition of “PLAINTIFFS” which specifically includes “attorneys” and therefore by definition seeks
imtonnation in violation of the attomey-client privilege and ihe work product doctrine. Plaintiffs
object to the Instructions provided by Defendants insofar as they specifically call for information
protected by the attomey-client privilege and work-product doctrine, such as requiring Plaintiffs to
“furnish all information available to you, including information in the possession of
vour,..utlomeys...” and asking for information that is “obtained or developed by you or your counsel.”

6. Plaintiffs object to each and every Interrogatory to the extent that Defendants are
requesting information that is neither relevant to the subject matter of this action nor reasonably
calculated to lead to the discovery of admissible evidence.

7. Plaintiffs object to the Interrogatories to the extent that they seek information available
10 Defendants through public sources or records, and on the grounds that they subject Plaintiffs to
unreasonuble and undue annoyance, oppression, burden and expense. Plaintiffs further object to the
Requests to the extent that such Requests are unduly burdensome because much or all of the
information requested in the Interrogatories is in the possession of Defendants, has been filed with

Court. or ig otherwise equally or more available to Defendants than to Plaintiffs.

Coleman Plaintiffs’ Supplemental Responses To Defendant Amold Schwarzenegger’s First Set Of Interrogatories
NOS.. CIV $ 90-0520 LKK-JFM, CO1-1351 TEH

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8, Plaintiffs object to the Interrogatories to the extent that they are vague and ambiguous
2 || and do not include adequate definition, specificity, or limiting factors.

3 9, Plaintiffs object generally to each Interrogatory to the extent that it seeks information
4! prepared by expert consultants, Plaintitfs submitted one round of expert reports on November 9, 2007,
5 {| as reyuired by the Three-Judge Court’s October 10, 2007 Order Bifurcating Proceedings and Setting
6 |] Deadlines tor Phase [. Plaintiffs will submit supplemental and/or new expert reports in accordance

7/} with the schedule that will be established by the Three-Judge Court. Many of Defendants’

X {| interrogatories request information that will be provided in whole or in part by expert testimony.

y! 10. Plaintiffs object generally to each [nterrogatory that involves an opinion or contention
11){] that relates to tact or the application of law to fact upon the ground that such Interrogatories are

11|| premature and inappropriate until after discovery has been completed. Plaintiffs moreover object to
[21] Interrogatories requesting “each and every” and/or “any and all” fact(s) or piece(s) of evidence on a

131| particular topic, as such contention Interrogatories are unduly burdensome, oppressive, and

i+) appropriate.

is : VI. Plaintiffs object to the Definitions provided by Defendants. While the term
to|| “PRISONER RELEASE ORDER” is defined by reference to the statutory definition, it is vague, -
|7|] ambiguous, and overbroad as used in these Interrogatories. The statute has rarely, if ever, been

{¥ {| interpreted by the federal courts, and the question of whether a particular order is a “Prisoner Release

19]] Order” depends on a range of complex factual and legal elements, including deciding whether an order

20 || “has the purpose or effect” of “reducing or limiting population” or “directing the release from or
211] nonadmission of prisoners.”
22 Subject to and without waiving the foregoing objections, and incorporating them by reference -

231] into cach of the responses provided below, Plaintiffs hereby provide the following supplemental

DAT] responses.

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Caleman Plaintiffs’ Supplemental Responses To Defendant Arnold Schwarzenegger's First Set Of Interrogatories
NOS. CIV § 90-0520 LKK-JFM, COl-1351 TEH

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Case 2:90-cv-00520-KJM-SCR Document 3147-3 Filed 10/30/08 Page 19 of 89

| SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 3:

| remedy the constitutional violations in a timely manner. A prisoner release order that excludes or

SUPPLEMENTAL RESPONSES TO INTERROGATORIES

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INTERROGATORY NO. 3:

If the response to Interrogatory number | is affirmative, by what amount must the Coleman

imental health caseload be reduced by the PRISONER RELEASE ORDER to remediate that failure?

ly addition to the General Objections stated above, Plaintiffs object to this Interrogatory on the
grounds that it ts vague, ambiguous and overbroad and that it seeks information not relevant to this
litigation nor reasonably calculated to lead to the discovery of admissible evidence. While the term
“PRISONER RELEASE ORDER” is defined by reference to the statutory definition, it is vague,
ambiguous. and overbroad as used in this Interrogatory. The statute has rarely, if ever, been
interpreted by the federal courts, and the question of whether a particular order is a “Prisoner Release
Order” depends on a range of complex factual and legal elements, including deciding whether an order
“has the purpose or effect” of “reducing or limiting population” or “directing the release from or
nonadmission of prisoners.” Plaintiffs also object to the extent that it would require disclosure of
information protected by the attorney-client privilege, work-product doctrine, and/or any other
applicable privilege and improperly calls for a legal conclusion in violation of the work product
doctrine. Plaintiffs further object on the basis that this Interrogatory calls for an expert opinion.
Plaintitts disclosed their experts and served initial reports of the experts on November 9, 2007, as
required by the Three-Judge Court's October 10, 2007 Order Bifurcating Proceedings and Setting
Deadlines for Phase [. Plaintiffs will submit additional expert reports in accordance with the deadlines
set by thé Three-Judge Court.

Subject to and without waiver of the above-stated objections, Plaintiffs respond as follows: As
Judge Karlton found in his Order of July 23, 2007, “the orders of this court issued from 1995 through
the present have failed to remedy the constitutionally inadequate delivery of mental health care to
CDCR inmates.” 7/23/07 Order at 7:22-23. Plaintiffs contend that crowding is the primary cause of

the ongoing constitutional violations and that no other relief other than a prisoner release order will

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||| discriminates against the Coleman class, in Plaintiffs’ opinion, will be unlikely to promptly and

? 1] vftectively alleviate the ongoing constitutional violations. Plaintiffs further contend that a prisoner

3 || release order that is directed solely at the Coleman class and fails to address overcrowding in general is
4]| also unlikely to promptly and effectively alleviate the constitutional violations.

5 Plaintiffs anticipate that the Court will order Defendants to develop a plan to accomplish the

|} population reductions, meaning that Defendants will be the ones charged with safely reducing the

7|| population. Defendants have numerous, evidence-based options available to them to safely effect the
81] population reductions, including those set forth in the following reports commissioned by or otherwise
y | available to Deferidants:

1a) Expert Panel on Adult Offender and Recidivism Reduction Programming, Report to the
State Legislature, A Roadmap for Effective Offender Programming in California (June

1 29, 2007);
12] Little Hoover Commission, Solving California's Corrections Crisis: Time is Running
Out (January 2007); Reforming Corrections: Report of the Corrections Independent

13 Review Panel, June 30, 2004 (Former Gov. Deukmejian, Chairman);

i4 Petersilia, Joan, Understanding California Corrections, California Policy Research
Center, University of California (May 2006)

15 (http://www.ucop.edu/cpre/documents/understand_ca_corrections.pdf);  ~

16 Final Report and Recommendations, Feb. 2008, Blue Ribbon Commission on Jail
Overcrowding, County of Santa Barbara, hereinafter “Santa Barbara Report.”

\7 (http://www. sbsheriff.org/documents/FullFinalBRCReport.pdf);

IX Governor's Rehabilitation Strike Team Report, Meeting the Challenges of Rehabilitation
in California's Prison and Parole System, December 2007

1) (http://www.cder.ca.gov/news/docs/GovRehabilitationStrikeTeamRpt_012308.pdf);

20 LAO 2008-09 Budget Analysis, Judicial and Criminal Justice

(http//www.lao.ca.gov/analysis_2008/crim justice/crimjust anlO8.pdf);

Accelerated Release: A Literature Review, January 2008 (available at
22 http://www.necd-crc.org) and all reports cited therein.

33 In terms of the numbers by which the Coleman and or general population must be reduced to
24|/ remediate the ongoing constitutional violations, it is impossible for Plaintiffs to determine at this time

25]| the specitic contours of the prisoner release order and, as stated above, Defendants will likely be the

2@ll ones ordered to develop a release plan. The necessary population reductions also depend on issues
+7]| under Defendants’ control, such as their ability to comply with required staffing ratios and court-
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ordered mental health bed construction projects, which may change over time. Any release order,
however, should include immediate reductions in the prison population over a limited period of time.
In Plaintiffs” view, the court may use various benchmarks for determining the population at which
defendants can meet constitutional standards for mental health treatment. One method is design bed
capacity. The institutions were built for roughly half of the current population. The Deukmejian
Commission also suggested that the prison system had an operable capacity of 111,000 prisoners and a

maximum “safe and reasonable capacity of 138,000 prisoners.” Regardless of what plan Defendants

I choose to establish, however, Plaintiffs will oppose any release plan that excludes Coleman class

members and will establish that many class members can be safely released to the community.
Moreover, Defendants’ plan should include provisions specifically intended to both reduce the intake
and the recidivism rates of Coleman class members, including but not limited to improved pre-release
planning services for Coleman class members (including completion of benefits applications with the
Social Security and Veterans’ Administrations), increased mental health services on parole to include
placement in appropriate treatment programs and housing, funding community-based alternatives to
returns to custody for parole violations that are related to mental iliness, providing access to residential
inental health programs (including Department of Mental Health hospitals and programs), establishing
specialized mental health parole revocation units oriented to appropriate alternatives to incarceration of
persons with mental illness, and expanding mental health courts in the counties to reduce prison
commitments tor offenders with mental illness. Finally, the exact effect of population reduction
measures on the provision of constitutionally adequate mental health care may not be known until the
reductions actually begin fo occur. To this end, the population reduction measures may have to be
implemented in phases and/or may change over time.

INTERROGATORY NO. 4:

Do you contend that the PRISONER RELEASE ORDER must reduce the number of inmates in
the different categories of the Coleman mental health caseload (such as the Enhanced Outpatient

Prozram. coordinated clinical case management system, inpatient care patient) to achieve

' constitutionally adequate mental health care?

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Culeman Plaintiffs’ Supplemental Responses To Defendant Amold Schwarzenegger's First Set Of Interrogatortes
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SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 4:
in addition to the General Objections stated above, Plaintiffs object to this Interrogatory on the

erounds that it is vague, ambiguous and overbroad and that it seeks information not relevant to this

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i litigation nor reasonably calculated to lead to the discovery of admissible evidence. While the term

" “PRISONER RELEASE ORDER” is defined by reference to the statutory definition, it is vague,

: ambiguous, and overbroad as used in this [nterragatory. The statute has rarely, if ever, been

: interpreted by the federal courts, and the question of whether a particular order is a “Prisoner Release

Order” depends on a range of complex factual and legal elements, including deciding whether an order

: “has the purpose or effect” of “reducing or limiting population” or “directing the release from or

nonadmission of prisoners.” Plaintiffs also object to the extent that it would require disclosure of

intormation protected by the attorney-client privilege, work-product doctrine, and/or any other

- upplicable privilege and improperly calls for a legal conclusion in violation of the work product

doctrine. Plaintiffs further object on the basis that this Interrogatory calls for an expert opinion.
Plainutts disclosed their experts and served initial reports of the experts on November 9, 2007, as

required by the Three-Judge Court’s October 10, 2007 Order Bifurcating Proceedings and Setting

. Deadlines for Phase {. Plaintiffs will submit additional expert reports in accordance with the deadlines

- set by the Three-Judge Court.

Subject to and without waiver of the above-stated objections, Plaintiffs respond as follows:
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(INTERROGATORY NO. 5:

If your response to the previous Interrogatory is affirmative, identify the reduction for each
category of the Coleman mental health caseload and by level of custody to achieve constitutionally
adequate mental health care,

SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 5:

In addition to the General Objections stated above, Plaintiffs object to this Interrogatory on the
grounds that itis vague, ambiguous and overbroad and that it seeks information not relevant to this

litigation nor reasonably calculated to lead to the discovery of admissible evidence. Plaintiffs also

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|]: object to the extent that it would require disclosure of information protected by the attorney-client

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i privilege, work-product doctrine, and/or any other applicable privilege and improperly calls for a legal

a“

| conclusion in violation of the work product doctrine. Plaintiffs further object on the basis that this

4|j interrogatory calls for an expert opinion. Plaintiffs disclosed their experts and served initial reports of
5 || the experts on November 9, 2007, as required by the Three-Judge Court’s October 10, 2007 Order

(|| Biturcating Proceedings and Setting Deadlines for Phase |. Plaintiffs will submit additional expert

71[ reports in accordance with the deadlines set by the Three-Judge Court.

S | Subject to and without waiver of the above-stated objections, Plaintiffs respond as follows: See
|| Supplemental Response to Interrogatory No. 3.

Int} INTERROGATORY NO. 6:

“| State each and every policy and procedure Defendants should adopt to achieve the amount of
the reduction in the Coleman mental health caseload necessary to remediate Defendants’ failure to
13 |] provide constitutionally adequate mental health care according to the Revised Program Guide

P4]) standards.

13|) SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 6:

fy In addition to the General Objections stated above, Plaintiffs object to this Interrogatory on the
:7{| grounds that it is vague, ambiguous and overbroad and that it seeks information not relevant to this

ix {| litization nor reasonably calculated to lead to the discovery of admissible evidence. The request for
Lt] ~each and every” conceivable policy and procedure is unduly burdensome and oppressive because tt is
>) |[ unlimited in time and scope and requests information not possibly within Plaintiffs’ knowledge.

2111 Plaintitts also object to the extent that it would require disclosure of information protected by the

>>|] attomey-client privilege, work-product doctrine, and/or any other applicable privilege and improperly

4 calls fora legal conclusion in violation of the work product doctrine. Plaintiffs further object on the
24 basis that this Interrogatory calls for an expert opinion. Plaintiffs disclosed their experts and served
S | initial reports of the experts on November 9, 2007, as required by the Three-Judge Court’s October LO,
i 2007 Order Bifurcating Proceedings and Setting Deadlines for Phase I. Plaintiffs will submit

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Subject to and without waiver of the above-stated objections, Plaintiffs respond as follows:

H ’laintitfs anticipate that the Court will order Defendants to develop a plan to accomplish the population
: reductions, meaning that Defendants will be the ones charged with safely reducing the population.

i Detendants have numerous, evidence-based options available to them to safely effect the population

| reductions, including, but not limited to, those set forth in the following reports commissioned by or

| otherwise available to Defendants:

Expert Panel on Adult Offender and Recidivism Reduction Programming, Report to the
Stale Legislature, A Roadmap for Effective Offender Programming in California (June
| 29, 2007),

‘| Little Hoover Commission, Solving California's Corrections Crisis: Time is Running
Out (January 2007); Reforming Corrections: Report of the Corrections Independent
Review Panel, June 30, 2004 (Former Gov. Deukmejian, Chairman);

Petersilia, Joan, Understanding California Corrections, California Policy Research
Center, University of California (May 2006)
(http://www.ucop.edu/cpre/documents/understand ca_corrections.pdf);

‘| Final Report and Recommendations, Feb. 2008, Blue Ribbon Commission on Jail
Overcrowding, County of Santa Barbara, hereinafter “Santa Barbara Report.”
(hittp://www.sbsheri ff.org/documents/FullFinalBRCReport.pdf);

Governor’s Rehabilitation Strike Team Report, Meeting the Challenges of Rehabilitation
in California's Prison and Parole System, December 2007

16] (http://www.cder.ca.gov/news/docs/GovRehabilitationStrikeTeamRpt 012308.pdf);

LAO 2008-09 Budget Analysis, Judicial and Criminal Justice
(http://www.lao.ca.gov/analysis_2008/crim justice/crimjust anl08.pdf);

“Accelerated Release: A Literature Review, January 2008 (available at http://www.nccd-

As these and other reports make clear, Defendants have numerous, evidence-based population
reduction options available to them that can be done safely and, in light of the dangerous overcrowding
in the prison system right now, could actually improve public safety. Some of the population reduction
: nicasures available to Defendants include, but are not limited to the following:

l. Fund Community Corrections Programs to Divert Prisoners with Sentences of Fewer

| than 24 Months.

2 Provide Intensive Probation Supervision for 18-25 year old offenders.

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Cafeman Plaintiffs’ Supplemental Responses To Defendant Amold Schwarzenegger's First Set Of Interrogatories
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3. Replace Discretionary Day for Day Earned Time with Statutory Day for Day Credits,
with Provisions That Only Disciplinary Conduct Can Result in Lost Days. . This would ensure that all
prisoners receive day for day credits (including pretrial jail credits) that can only be removed tor
scriuus misconduct. Washington, Indiana and Illinois have similar statutory schemes and this remedy

was atso recommended by the Expert Panel and Deukmejian Panel reports.

4. Provide Supplemental Program Credits For Prisoners Complying With Case
Management Plan And For Prisoners Who Complete Rehabilitative Programs. See Expert Panel

Report. pp. 92-93.

A, ‘Transfer Low Risk Prisoners with Fewer than 12 months to Serve to Parole. This will

“) require use of the risk assessment tool identified below and would place low risk offenders on a very

Hu short period of parole supervision while moving moderate to high risk offenders to community

corrections centers (CCCs) or reentry facilities.
Q. Discharge Low Risk Offenders from Parole if Arrest-Free for [2 Months.
7, Use a Validated Risk Assessment Procedure to Release Non-Violent, Non-Sex

(tenders from Prison without Parole. See Expert Panel, Exhibit E, p. 90.

S. Develop A Parole Sanctions Matrix Based on the Risk to Re-Offend Level of the
ttender And the Seriousness of the Violation. Similar matrices are currently in use in other states, as
reported by the National Institute of Corrections, The matrix should preclude low risk parolees from

being returned to prison for technical violations or misdemeanors.

9, Implement a Validated Risk Assessment Instrument Throughout CDCR. The prison

system has ready access to such an instrument, which will ensure that high risk prisoners are not

‘yelcased from prison without proper supervision and that low-risk people are not over-supervised,

CDCR al-cady compiles the data necessary to use this risk assessment tool.

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cdeman Plaintifts’ Supplemental Responses To Defendant Amold Schwarzenegger's First Set Of Interrogatortes
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if 10, immediately Hire Sufficient Staff to Calculate Credits and to Process Outgoing

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: Prisoners. The state found that 354 out of 679 prisoners subject to a recent audit were not released on

“se

time. resulting in $2.3 million in added housing costs for those prisoners.

4]. oy pare . .
VI. Greatly Expand the Availability of Alternative Sanctions As Recommended by the
5 . . ty . .
Parole Sanctions Matrix. Some examples include residential multi-service centers, drug treatment
*)| programs, electronic in-home detention, mental health programs providing residential, day treatment
“Hand other necessary programs and services, and day reporting centers.
Ni:
" 12. Divert New Court Commitments with County Subsidy Grants. One option is to provide
pi .
| funding to counties similar to Senate Bill 81 (requiring non-violent juvenile offenders to be retained in
i)
i} the community) for housing/treatment of non-violent adult offenders. The state of Pennsylvania also
i bi
/ has Uhis lype of diversion prograin.
12}
13 i 13. Automatically Restore Good-Time Credits for All Prisoners with Non-Serious
iy! Misconduct (Classes D, E, And F). Under the current system, prisoners must request restoration of
15 ! these credits, which are then inconsistently restored throughout the system. This change would result
jy fea ulomatic restoration of credits in the absence of additional misconduct by the prisoner,
[7 14. Expand Pre-Release Planning Services for Mentally Ill, Developmentally Disabled, And

IX Other Special Needs Inmates to Include Benefits Applications With the Social Security And Veteran’s

19 | Administrations. The CDCR will need to complete contract negotiations with each federal agency and

21 lure social workers to implement this recommendation.
1 - . a _. oo
15. Redirect Funds to Counties to Manage Parolees with Mental [IIness, including, for
VD .
“7 ] example
4

a) Increase and Fund Mental Health Services on Parole to Include Placement in

Appropriate Housing (e.g. Board and Care, Inpatient, Outpatient Day Reporting)

to Reduce Recidivism.

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«nfcmen Plaintitts’ Supplemental Responses To Detendant Amold Schwarzenegger’s First Set Of Intcrrogatories
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b) Fund Community-Based Alternatives to Returns to Custody for Parole

Violations that Are Related to Symptoms of Mental Illness.

c) Expand Mental Health Courts in the Counties to Reduce Prison Commitments

for Offenders with Mental [{IIness.

Io, Establish specialized mental health parole units to provide appropriate supervision,

aceess to treatment, housing and reintegration with the community.

17, Enact Legislation to Create a Sentencing Commission. Unless the sentencing structure

is reformed the prison population will continuc to grow thereby perpetuating a system that will need

* court supervision to maintain limits on the prison population.

INTERROGATORY NO. 7:

State the time frame for the implementation of each and every policy that Defendants should
adopt to achieve the reduction in the Coleman mental health caseload necessary to remediate
ielendants’ failure to provide constitutionally adequate mental health care according to the Revised

Program Guide standards.

SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 7:

In addition to the General Objections stated above, Plaintiffs object to this Interrogatory on the
vrounds that it is vague, ambiguous and overbroad and that it seeks information not relevant to this
litigation nor reasonably calculated to lead to the discovery of admissible evidence. Plaintiffs also
abject to the extent that it would require disclosure of information protected by the attorney-client
privilege. work-product doctrine, and/or any other applicable privilege and improperly calls for a legal
conclusion in violation of the work product doctrine. Plaintiffs further object on the basis that this
Interrogatory calls for an expert opinion. Plaintiffs disclosed their experts and served initial reports of
the experts on November 9, 2007, as required by the Three-Judge Court’s October 10, 2007 Order
Bifurcating Proceedings and Setting Deadlines for Phase I. Plaintiffs will submit additional expert

reports in accordance with the deadlines set by the Three-Judge Court.

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"Coleman Plaintifts’ Supplemental Responses ‘To Defendant Amold Schwarzenegger's First Set Of Interrogatories
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| | Subject to and without waiver of the above-stated objections, Plaintiffs respond as follows: See
) : Supplemental Response to [nterrogatory No. 3. In addition, any plan defendants’ develop or adopt

+4] should mandate that population reductions occur within a three year period, with most of the

4'. reductions ovcurring within the first two years. There should also be an immediate reduction of

+:1 approximately 15,000 prisoners so that no prisoners.are housed in what are commonly referred to as

a “ugly” ar “had” beds, i.e.. those in gymnasiums, dayrooms, triple-bunks, and other locations not

” / intended for housing.

\:| INTERROGATORY NO. 8;

) I! those policies and procedures identified in response to Interrogatory number 7 are based
11):| upen any prison or population models, please identify each and every model by its source, including

it i but not limited to entity, publication, and author.

|) | SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 8:

13 tn addition to the General Objections stated above, Plaintiffs object to this Interrogatory on the
yrounds that it is vague, ambiguous and overbroad and that it seeks information not relevant to this
litigation nor reasonably calculated to lead to the discovery of admissible evidence. Plaintiffs also

[6 i! object to the extent that it would require disclosure of information protected by the attorney-client

(74 privilege, work-product doctrine, and/or any other applicable privilege and improperly calls for a legal
1s ! conclusion in violation of the work product doctrine. Plaintiffs further object on the basis that this

i) !] Interrogatory calls for an expert opinion, Plaintiffs disclosed their experts and served initial reports of
4) : the experts an November 9, 2007, as required by the Three-Judge Court’s October 10, 2007 Order

>| ! Bilurcating Proceedings and Setting Deadlines for Phase |. Plaintiffs will submit additional expert

») reports in accordance with the deadlines set by the Three-Judge Court.

| Subject to and without waiver of the above-stated objections, Plaintiffs respond as follows: See

i Supplemental Responses to Interrogatory No. 3 and [nterrogatory No. 6.

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Codvnten Plaintitts’ Supplemental Responses ‘To Defendant Arnold Schwarzenegger's First Set Of Interrogatories
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| || INTERROGATORY NO. 9:
», Do Plaintiffs contend that a PRISONER RELEASE ORDER reducing only non-Coleman

+ + caseload population will enable Defendants to meet constitutionally adequate standards for mental

4 | health care according to the court-approved Revised Program Guide?

‘i] SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 9:
aot in addition to the General Objections stated above, Plaintiffs object to this Interrogatory on the

7 | urounds that itis vague, ambiguous and overbroad and that it seeks information not relevant to this

x A litigation nor reasonably calculated to lead to the discovery of admissible evidence. While the term

) | “PRISONER RELEASE ORDER” is defined by reference to the statutory definition, it is vague,
I) | ambiguous, and overbroad as used in this Interrogatory. The statute has rarely, if ever, been
i] ’| interpreted by the federal courts, and the question of whether a particular order is a “Prisoner Release
Urder” depends on a range o F complex factual and legal elements, including deciding whether an order
132] “has the purpose or effect” of “reducing or limiting population” or “directing the release from or
14 /} nonadmission of prisoners.” Plaintiffs also object to the extent that it would require disclosure of

information protected by the attorney-client privilege, work-product doctrine, and/or any other

lo ! appheable privilege and improperly calls for a legal conclusion in violation of the work product

17!! doctrine. Plaintiffs further object on the basis that this interrogatory calls for an expert opinion.

1 |} Plaintiffs disclosed their experts and served initial reports of the experts on November 9, 2007, as

Lyf required by the Three-Judge Court’s October 10, 2007 Order Bifurcating Proceedings and Setting
an Deadlines tor Phase I. Plaintiffs will submit additional expert reports in accordance with the deadlines
‘| ! set by the Vhree-Judge Court.
»? Subject to and without waiver of the above-stated objections, Plaintiffs respond as follows: See
241) Supplemental Response to Interrogatory No. 3.

24/, INTERROGATORY NO. 10:

ff if your response to Interrogatory number 9 is in the affirmative, please state the amount of that

26} population reduction.

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Colcman Plaintitfs’ Supplemental Responses To Defendant Amold Schwarzenegger's First Set Of interrogatories
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2(1{]| tigation nor reasonably calculated to lead to the discovery of admissible evidence. Plaintiffs also

20] Bifurcating Proceedings and Setting Deadlines for Phase |. Plaintiffs will submit additional expert
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| SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 10:

. In addition to the General Objections stated above, Plaintiffs object to this Interrogatory on the
; | erounds that itis vague, ambiguous and overbroad and that it seeks information not relevant to this
4j{ litigation nor reasonably calculated to lead to the discovery of admissible evidence. Plaintiffs also
+1} object to the extent that it would require disclosure of information protected by the attomey-client
h | privilege, work-product doctrine, and/or any ather applicable privilege and improperly calls for a legal
! conclusion tn violation of the work product doctrine. Plaintiffs further object on the basis that this

| Interrogatory calls for an expert opinion. Plaintiffs disclosed their experts and served initial reports of
4 | ihe experts on November 9, 2007, as required by the Three-Judge Court’s October 10, 2007 Order
0 i Biturcaling Proceedings and Setting Deadlines for Phase [. Plaintiffs will submit additional expert
4 ! reports mn uecordance with the deadlines set by the Three-Judge Court.
2 Subject to and without waiver of the above-stated objections, Plaintiffs respond as follows: See
3 : Supplemental Responses to Interrogatory No. 3 and Interrogatory No. 7.

‘4 INTERROGATORY NO. LL:

NY For the population reduction stated in response to Interrogatory number 10, please identify the
14] numbers of inmates that you contend must be released by level of custody and gender.

i7|| SUPPLEMENTAL RESPONSE TO INTERROGATORY NO, 11:

IN| In addition to the General Objections stated above, Plaintiffs object to this Interrogatory on the

'O]]} rounds that itis vague, ambiguous and overbroad and that it seeks information not relevant to this

"LT} object to the extent that it would require disclosure of information protected by the attorney-client

2 |] privilege, work-product doctrine, and/or any other applicable privilege and improperly calls for a legal
43] conclusion in violation of the work product doctrine. Plaintiffs further object on the basis that this
4 i Interregatory calls for an expert opinion. Plaintiffs disclosed their experts and served initial reports of

5 the experts on November 9, 2007, as required by the Three-Judge Court’s October 10, 2007 Order

reports in accordance with the deadlines set by the Three-Judge Court.

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tutonten Plaintiffs’ Supplemental Responses To Defendant Arnold Schwarzenegger's First Set Of {nterrogatories
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Subject to and without waiver of the above-stated objections, Plaintitfs respond as follows: See
Supplemental Responses to Interrogatory No. 3 and Interrogatory No. 7.

INFERROGATORY NO. 12:

State each and every policy and procedure Defendants should adopt to achieve the reduction in
only non-Coleman caseload population stated in response to Interrogatory number 10.

SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 12:

In addition to the General Objections stated above, Plaintiffs object to this Interrogatory on the
vrounds that it is vague, ambiguous and overbroad and that it seeks information not relevant to this

litigation nor reasonably calculated to lead to the discovery of admissible evidence, Plaintiffs also

-| object lo the extent that it would require disclosure of information protected by the attorney-client

privilege. work-product doctrine, and/or any other applicable privilege and improperly calls for a legal

“conclusion in violation of the work product doctrine. Plaintiffs further object on the basis that this

Hj Interrogatory calls for an expert opinion, Plaintiffs disclosed their experts and served initial reports of

ihe experts on November 9, 2007, as required by the Three-Judge Court’s October 10, 2007 Order
Bifurcating Proceedings and Setting Deadlines for Phase I. Plaintiffs wil} submit additional expert
reports in accordance with the deadlines set by the Three-Judge Court.

Subject to and without waiver of the above-stated objections, Plaintiffs respond as follows: See
Supplemental Response to Interrogatory No. 6.

INVERROGATORY NQ. 13:

State the time frame for the implementation of each and every policy that Defendants should
adopt to achieve the reduction in only non-Coleman caseload population necessary to remediate
Detendants’ failure to provide constitutionally adequate mental health care according to the Revised
Program Guide standards,

SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 13:

In addition to the General Objections stated above, Plaintiffs object to this Interrogatory on the

"} urounds that it is vague, ambiguous and overbroad and that it seeks information not relevant to this

 litiqatian nor reasonably calculated to lead to the discovery of admissible evidence. Plaintiffs also

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Coleman Plaintiffs’ Supplemental Responses To Defendant Arnold Schwarzenegger's First Set Of tnterrogalories
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Garner/ 00156

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|

| i] object to the extent that it would require disclosure of information protected by the attorney-client

>! privilege. work-product doctrine, and/or any other applicable privilege and improperly calls for a legal
| conclusion in violation of the work product doctrine. Plaintiffs further object on the basis that this

4 Interrogatory calls for an expert opinion. Plaintiffs disclosed their experts and served initial reports of
s ihe experts on November 9, 2007, as required by the Three-Judge Court’s October 10, 2007 Order

hy Bilurcating Proceedings and Setting Deadlines for Phase I. Plaintifts will submit additional expert

| repurts in accordance with the deadlines set by the Three-Judge Court. .

N 2 Subject to and without waiver of the above-stated objections, Plaintiffs respond as follows: See

v1} Supplemental._Response to Interrogatory No. 7.

LOl] INEERROGATORY NO. 14:

If those policies and procedures identified in response to Interrogatory number [2 are based
| upon any prison or population models, please identify each and every model by its source, including

131] but not limited to entity, publication, and author.

SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 14:

iS tn addition to the General Objections stated above, Plaintiffs object to this Interrogatory on the
oi rounds that if is vague, ambiguous and overbroad and that it seeks information not relevant to this

litigation nor reasonably calculated to lead to the discovery of admissible evidence. Plaintiffs also

iN |} object to the extent that it would require disclosure of information protected by the attorney-client
\U} privilege, work-product doctrine; and/or any other applicable privilege and improperly calls for a legal

2Q{ conclusion in violation of the work product doctrine. Plaintiffs further object on the basis that this

ii “Interrovatory calls for an expert opinion. Plaintiffs disclosed their experts and served initial reports of
‘2. the experts on November 9, 2007, as required by the Three-Judge Court’s October 10, 2007 Order
>} Bilurcating Proceedings and Setting Deadlines tor Phase |. Plaintiffs will submit additional expert

24! reports in accordance with the deadlines set by the Three-Judge Court.

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Coleman Plaintiffs’ Supplemental Responses ‘lo Detendant Arnold Schwarzenegger's First Set Of Interrogatories
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| Subject to and without waiver of the above-stated objections, Plaintiffs respond as follows: See
) | Supplemental Responses to {nterrogatory No. 3 and Interrogatory No. 6.
\ i
11 Dated: April tt, 2008 ROSEN, BIEN & GALVAN, LLP
|
4 | By: ZL
Aimy Whelan
oH Attorptys for Plaintiffs
vs RAEPH COLEMAN, ET AL.
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| Caleman Plainufls Supplemental Responses To Defendant Arnold Schwarzenegger's First Set Of Interrogatories
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VERIFICATION

|. Ralph Coleman, certify and declare that | have read the foregoing “Coleman Plaintiffs’

- Supplemental Responses to Defendant Schwarzenegger's First Set of Interrogatories” and know the

! Gantents thereof.

|, Ralph Coleman, class representative in this action, am authorized to make this verification

) forand on behalf of Plaintiffs, and | make this verification for that reason. The responses are not all

| within my personal knowledge. | am informed and believe that there is no single person who has full

personal knowledge of all of the matters set forth therein and that the responses were prepared with the
advice and assistance of counsel. Subject to inadvertent or undiscovered errors and reserving the right

io make changes to the responses if it appears that there were errors or omissions, | allege that the

| multers stated in the responses are true and correct to the best of my knowledge, information and

behiet.
| declare under penalty of perjury under the laws of the United States and the State of
\alifornia that the foregoing is truc and correct. Executed at Vacaville, California on April 10th, 2008.

kabh Cberman

Ralph Coleman

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( olen Plaintiffs’ Supplemental Responses To Defendant Amald Schwarzenegger's First Sec Of Interrogatories
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|

J PROOF OF SERVICE

|. Kathlecn Johnson-Silk, declare that | am a resident of the State of California, am over the age

of cizhteen years and am not a party to the within action. I am employed with Rosen, Bien & Galvan
|
i! 1 P. whose address is 315 Montgomery Street, Tenth Floor, San Francisco, California 94104, On

~i April 11, 2008, [served the following documents:

PLAINTIFF RALPH COLEMAN’S SUPPLEMENTAL RESPONSE TO
DEFENDANT GOVERNOR SCHWARZENEGGER’S FIRST SET OF
INTERROGATORIES

| served the documents on the persons listed below, as follows:

| | i By messenger service. [ served the documents by placing them in an envelope
| or package addressed to the persons listed below and providing them to a
professional messenger service for service. (A declaration by the messenger is
allached hereto as a separate document.)

vt . |X] By United States mail. [ enclosed the documents in-a sealed envelope or

° package addressed to the persons listed below and placed the envelope or
package for collection and mailing in accordance with our ordinary business
practices. | am readily familiar with my firm’s practice for collecting and
processing correspondence for mailing. On the same day that correspondence is
placed for collection and mailing, it is deposited in the ordinary course of
business with the United States Postal Service, in a sealed envelope with postage
fully prepaid. I am a resident or employed in the county where the mailing

i occurred. The envelope or package was placed in the mail at San Francisco,
California.

mf By e-mail or electronic transmission. Based on a court order or an agreement
of the parties to accept service by e-mail or electronic transmission, I caused the

N
documents to be sent to the persons at the e-mail addressed listed below. I did
yi ' ; not receive, within a reasonable time after the transmission, any electronic
message or other indication that the transmission was unsuccessful,
My
oo Lisa A. Tillman Paul B, Mello, Esq.
Qf Deputy Attorney General Hanson & Bridgett LLP
P.O. Box 944255 425 Market Street, 26" Floor
do: Sacramento, CA 94244-2550 San Francisco, CA 94105
de Lead Counsel for County Intervenors Republican Assembly and Senate [ntervenors
. Ann Miller Ravel Steven S. Kaufhold
te, Theresa Fuentes Akin, Gump Strauss Hauer & Feld, LLP
a Olfice of the County Counsel 580 California Street, 15" Floor
70) West Hedding, East Wing, 9" Floor San Francisco, CA 94104
by, Sun Jose, CA 95110 :
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«ulenran Plaintiffs’ Supplemental Responses To Defendant Arnold Schwarzenegger's First Set Of Interrogatories
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Wi

California Correctional Peace Officers’

Association (CCPOA) Intervenors
Natalie Leonard

Gregg MacClean Adam

Carroll, Burdick & McDonough, LLP
44 Montgomery Street, Suite 400
San Francisco, CA 94104

District Attorney [ntervenors
William E. Mitchell

Assistant District Attomey
Riverside County District Attorney’s
Office

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County of Sonoma Intervenors

Anne L. Keck, Deputy County Counsel
Steven Woodside

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Santa Rosa, CA 95403

California Sheriff, Probation, Police Chief
and Corrections Intervenors

‘Jones & Mayer LLP

Martin J. Mayer

Michael R. Capizzi

Kimberly Hall Barlow

Elizabeth R. Feffer

3777 North Harbor Boulevard

Fullerton, CA 92835

| declare under penalty of perjury under the laws of the United States and the State of

California that the foregoing is true and correct, and that this Proof of Service was executed on this

ttth day of April, 2008, at San Francisco, cto Vo
~~

Coleman Plaintiffs’ Supplemental Responses To Defendant Arnold Schwarzenegger’s First Set OF Interrogatories

‘Kathlee pe Silk

2)

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Exhibit C

Santa Clara County Department of Alcohol and Drug Services
Episodes of Care for Fiscal Year 2008

County of Santa Clara Trial Exhibit #L
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Exhibit D

Santa Clara County Department of Alcohol and Drug Services
Network for the Improvement of Addiction Treatment
Preliminary Baseline Aims Fiscal Year 2007

County of Santa Clara Trial Exhibit # M
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Exhibit E

Fiscal Year 2006 Adult Treatment Cost for the Department of Drug and Alcohol

County of Santa Clara Trial Exhibit F
